            Case 3:13-cv-01900-SI          Document 23   Filed 01/14/14   Page 1 of 2




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                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                          PORTLAND DIVISION


TRINKA A. TURNER, JUNEA R.                         Case No. 3:13-cv-01900 SI
MURPHY, and JENNIFER L. JUNKINS,
on behalf of themselves and all other
similarly situated,                                PLAINTIFFS’ MOTION FOR LEAVE
                                                   TO AMEND COMPLAINT
                            Plaintiffs,

  v.

THOMAS VILSACK, Secretary of the
Department of Agriculture;
DOUGLAS O’BRIEN, Acting
Undersecretary for Rural Development;
RICHARD DAVIS, Acting
Administrator Rural Housing Service;
and VICKI L. WALKER, Oregon RD
State Director,
                           Defendants.




  1 – MOTION
             Case 3:13-cv-01900-SI      Document 23       Filed 01/14/14     Page 2 of 2




       Pursuant to Fed. R. Civ. P. 15, Plaintiffs, by and through their undersigned counsel, move

the Court for an order allowing them to amend their Complaint to:

        1.       Remove Richard Davis, former acting administrator as a defendant and to add the

              current Rural Housing Service administrator, Tony Hernandez;

        2.       Add additional factual allegations regarding funding for the property, an

              attempted purchase of the property, and Defendants’ management of the property;

              and

        3.       Add an additional claim based on agency mismanagement of the property.

       Pursuant to LR 7.1, Plaintiffs have made a good faith effort to resolve this dispute with

Defendants, but have been unable to do so.

       Pursuant to L.R. 15.1(d), a copy of the proposed amended complaint is attached hereto as

Exhibit 1.

DATED this 14th day of January, 2014

                                                      OREGON LAW CENTER

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2 – MOTION
